












Petition for Writ of Mandamus Dismissed and
Memorandum Opinion filed November 18, 2010.

&nbsp;

In
The

Fourteenth
Court of Appeals



NO. 14-10-00998-CV



&nbsp;

In Re Danny Lee Gonzales,
Relator



&nbsp;



ORIGINAL
PROCEEDING



WRIT OF MANDAMUS



MEMORANDUM
&nbsp;OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
October 12, 2010, relator, Danny
Lee Gonzales, filed a petition for writ of
mandamus in this Court.&nbsp; See Tex. Gov’t Code Ann. § 22.221 (Vernon
2004); see also Tex. R. App. P. 52. &nbsp;In his petition, relator requests
this court to compel the Honorable Annette Kuntz, presiding judge of the 245th
District Court &nbsp;of Harris Couny, Texas, to rule on motions he claims to have
filed relating to his petition for divorce, which is apparently pending in that
court.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;To
be entitled to mandamus relief, a relator must show that he has no adequate
remedy at law to redress his alleged harm, and what he seeks to compel is a
ministerial act, not involving a discretionary or judicial decision. State ex
rel. Young v. Sixth Judicial Dist. Court of Appeals at Texarkana, 236
S.W.3d 207, 210 (Tex. Crim. App. 2007) (orig.proceeding). Consideration of a
motion that is properly filed and before the court is a ministerial act.&nbsp; State
ex rel. Curry v. Gray, 726 S.W.2d 125, 128 (Tex. Crim. App.1987)
(orig.proceeding) (op. on reh'g).&nbsp; A relator must establish the trial court (1)
had a legal duty to rule on the motion; (2) was asked to rule on the motion;
and (3) failed to do so.&nbsp; In re Keeter, 134 S.W.3d 250, 252 (Tex. App.
-- Waco 2003, orig. proceeding).&nbsp; A relator must show that the trial court
received, was aware of, and asked to rule on the motion.&nbsp; In re Villarreal,
96 S.W.3d 708, 710 (Tex. App. -- Amarillo 2003, orig. proceeding).&nbsp; Filing
something with the district clerk's office does not mean the trial court is
aware of it; nor is the clerk's knowledge imputed to the trial court.&nbsp; Id.
at n. 2.

Relator
has not provided file-stamped copies of his motions demonstrating they are
actually pending in the trial court.&nbsp; Absent a showing the trial court is aware
of and been asked to rule on his motions, relator has not established his
entitlement to the extraordinary relief of a writ of mandamus.&nbsp; Accordingly, we
deny relator’s petition for writ of mandamus.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

&nbsp;

&nbsp;

Panel consists of Justices Seymore, Boyce, and Christopher.

&nbsp;





